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                      IN THE UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

GLOBAL MERCHANDISING SERVICES LTD.,

       Plaintiff,                                     Case No.: 1:18-cv-04535

v.                                                    Judge John Robert Blakey

THE PARTNERSHIPS AND UNINCORPORATED                   Magistrate Judge Mary M. Rowland
ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

       Defendants.

                            SATISFACTION OF JUDGMENT

        WHEREAS, a judgment was entered in the above action on September 4, 2018 [43], in

 favor of Plaintiff and against the Defendants Identified in Amended Schedule A. Plaintiff

 acknowledges payment of an agreed upon damages amount, costs, and interest and desires to

 release this judgment and hereby fully and completely satisfy the same as to the following

 Defendants:

               NO.                              DEFENDANT
                79                                caorenliang
                91                               chenpanpan6
               317                                 lutingstore
               538                              zhangchanstore
               245                                jinmingxin
               332                                 mmmlllJJ
               236                                 jiangman
               211                                HomecnelD
               414                                 sunhua88
               291                                liuyanzi123
               266                                  lichaoyy
               526                                YuanYeraan
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              557                                   zhipengxiaojiating
              454                                   weishengaijiejing
              295                                       liuziqi79
              561                                    zhuanmingstore
              92                                       chenping92
              366                                    qiushuiwanqian
              39                                     08zhangxiaoqin

       THEREFORE, full and complete satisfaction of said judgment as to above identified

Defendants is hereby acknowledged, and the Clerk of the Court is hereby authorized and directed

to make an entry of the full and complete satisfaction on the docket of said judgment.




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